8:05-cr-00094-LSC-FG3      Doc # 324    Filed: 02/09/07   Page 1 of 1 - Page ID # 1169




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )         8:05CR94
                                           )
             Plaintiff,                    )
                                           )         ORDER
v.                                         )
                                           )
LEONARDO VARGAS-GONZALEZ,                  )
                                           )
             Defendant.                    )



      UPON THE ORAL MOTION OF THE DEFENDANT and no objection from the
government,

       IT IS ORDERED that the Change of Plea hearing is continued to February 21,
2007 at 10:00 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between February 9, 2007 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 9th day of February, 2007.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
